Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
Filed 03/30/11   Case 11-27887   Doc 1
